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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                    :
                                             :
               v.                            :      Criminal No. 19-cr-395 (BAH)
                                             :
LARRY DEAN HARMON,                           :
                                             :
                      Defendant              :

                    GOVERNMENT’S OPPOSITION TO DEFENDANT’S
                         MOTION FOR RELEASE OF FUNDS

       The United States of America, by and through its attorney, the Acting United States

Attorney for the District of Columbia, respectfully files its opposition to the Defendant’s Motion

for Release of Funds Needed To Secure Counsel or Alternative Motion for a Hearing, ECF No.

32. In support whereof, the government states as follows:

                                       BACKGROUND

       As explained in the accompanying Opposition to the Defendant’s Motion To Dismiss

Counts Two and Three, the defendant Larry Dean Harmon (“Harmon” or the “defendant”) was

indicted on December 3, 2019, on counts of Conspiracy to Launder Monetary Instruments, in

violation of 18 U.S.C. § 1956(h); Operating an Unlicensed Money Transmitting Business, in

violation of 18 U.S.C. § 1960(a); and Money Transmission Without a License, in violation of D.C.

Code § 26-1023(c).

       On February 6, 2020, federal law enforcement agents from the Internal Revenue Service-

Criminal Investigation (“IRS-CI”) and the Federal Bureau of Investigation (“FBI”) arrested

Harmon and executed three search warrants for Harmon’s residence and office properties in the

Akron, Ohio area (Harmon leased office space on the second and third floors of a commercial

office building in downtown Akron). On the same date, authorities in Belize executed a search of
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Harmon’s vacation property in Belize pursuant to a Mutual Legal Assistance Treaty (“MLAT”)

request. On or about February 6, 2020, agents also executed seizure warrants for a number of

properties, including a BlockFi Bitcoin Interest Savings Account under Harmon’s name. On

February 10, 2020, based in part on information discovered through the Ohio search warrants,

federal agents executed another search warrant for an apartment Harmon rented in San Mateo,

California.

         As relevant here, agents recovered a number a cryptocurrency storage devices, including

(1) one Trezor seized from Harmon’s office space in Akron, Ohio, which was found taped to the

underside of a desk using double-sided tape; (2) two Trezors seized from Harmon’s vacation

property in Belize; and (3) one Ledger Nano seized from Harmon’s apartment in San Mateo,

California. Agents also found recovery seed words in Harmon’s office space. 1

         Subsequently, during the course of this litigation, the Court issued a Restraining Order

pursuant to 21 U.S.C. § 853(e)(1)(A) requiring that Harmon provide the government with access

to any cryptocurrency within his possession, custody, or control, for safekeeping by the U.S.

Marshals Service during the pendency of this proceeding. See ECF No. 26 (Apr. 27, 2020 Order),

as modified by ECF No. 28 (Apr. 28, 2020 Order). In response to the Court’s Restraining Order,

Harmon provided credentials that allowed the government to seize certain additional bitcoin

wallets.

         In total, the government has seized the following bitcoin assets (collectively, the “Seized

Bitcoin”), all of which are currently in the custody of the U.S. Marshals Service:




         1
           A seed key or seed phrase is a list of words used to encode a bitcoin wallet’s private keys. Wallet software
will typically generate a seed phrase and instruct the user to write it down on paper. The same software can be used
to decode the seed phrase and reconstitute the wallet.

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   •   330.25648625 BTC (after required fees) from Harmon’s BlockFi Bitcoin Interest Savings

       Account;

   •   0.18803781 BTC (after required fees) from wallets reconstituted using a set of seed words

       recovered during the search warrants (“Seed Words A”);

   •   0.0000414 BTC (after required fees) from wallets reconstituted using a set of seed words

       recovered during the search warrants (“Seed Words B”);

   •   0.00234138 BTC (after required fees) from wallets reconstituted a set of seed words

       recovered during the search warrants (“Seed Words C”); and

   •   4,168.9815353 BTC (after required fees) from wallets accessed in part using credentials

       provided by Harmon in response to the Court’s Restraining Order.

       The defendant is now moving for the return of 160 BTC for purposes of attorney’s fees.

See ECF No. 32.

                                     LEGAL FRAMEWORK

       The Supreme Court has long held that a criminal defendant has no right to property that is

subject to forfeiture, even if he needs that property to pay attorney’s fees. In Caplin & Drysdale,

Chartered v. United States, 491 U.S. 617 (1989), the Court held that there is no right under the

Sixth Amendment to use forfeitable assets to pay for a defendant’s counsel of choice: “It is our

view that there is a strong governmental interest in obtaining full recovery of all forfeitable assets,

an interest that overrides any Sixth Amendment interest in permitting criminals to use assets

adjudged forfeitable to pay for their defense.” Id. at 631. As the Court explained:

       A robbery suspect, for example, has no Sixth Amendment right to use funds he has
       stolen from a bank to retain an attorney to defend him if he is apprehended. The
       money, though in his possession, is not rightfully his; the Government does not
       violate the Sixth Amendment if it seizes the robbery proceeds and refuses to permit
       the defendant to use them to pay for his defense.


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Id. at 626. In United States v. Monsanto, 491 U.S. 600 (1989), the Court held that the government

can properly seize and restrain property for forfeiture before trial as long as there is probable cause

to believe the assets are subject to forfeiture. Id. at 615-16. 2

         At the same time, courts have recognized that a criminal defendant has a qualified right to

a pretrial probable cause hearing to dispute the government’s showing of probable cause, if the

defendant needs funds to retain his counsel of choice. See, e.g., United States v. Monsanto, 924

F.2d 1186, 1192-98 (2d Cir. 1991) (en banc) (“Monsanto II”); and United States v. E-Gold, 521

F.3d 411, 419 (D.C. Cir. 2008), both abrogated in part by Kaley v. United States, 571 U.S. 320

(2014). These hearings are sometimes called “Monsanto hearings.” In Kaley v. United States, the

Court explained that probable cause to believe property is subject to forfeiture reflects two

findings: “(1) that the defendant has committed an offense permitting forfeiture, and (2) that the

property at issue has the requisite connection to that crime.” 571 U.S. at 323-24. Kaley held that

a defendant in an indicted case was not entitled to a pretrial hearing to challenge the grand jury’s

finding of probable cause on the first question, whether the defendant committed the charged

offense. Id. at 322; see also id. at 331 (“The grand jury’s determination is conclusive.”). But

Kaley left open the option for a pretrial hearing limited to the second question, whether the property

is traceable to the offense, and courts have continued to hold Monsanto hearings on the traceability

of seized property. See id. at 324 & n.3; see also, e.g., United States v. Bikundi, 125 F. Supp. 3d

178 (D.D.C. 2015) (conducting pretrial review of whether property is traceable to offense).



         2
           More recently, the Court held in Luis v. United States, 136 S. Ct. 1083 (2016), that the government cannot
restrain “untainted” substitute property if the defendant asserts a valid Sixth Amendment need for the property to pay
for his counsel of choice. Luis did not overrule Caplin & Drysdale or Monsanto. See id. at 1089-92. Rather, Luis
carved out an exception for property seized solely as “substitute” assets, as opposed to property that is directly subject
to forfeiture because it represents criminal proceeds, facilitating property, or other property tied to the offense. See
Luis, 136 S. Ct. at 1089-90. Here, Luis is not relevant because the government is not seeking to restrain the Seized
Bitcoin as “substitute assets,” but as property “involved in” the defendant’s money laundering and unlicensed money
transmitting offenses.

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        The right to a pretrial hearing, however, is not absolute. The defendant bears a threshold

burden of establishing financial need. As Judge Friedman summarized in United States v. Emor,

794 F. Supp. 2d 143 (D.D.C. 2011), “[e]very court that has addressed the issue has found that a

defendant’s merely conclusory allegation that he lacks the funds to retain counsel of choice is

insufficient to trigger the need for a Monsanto hearing; in order to obtain a hearing the defendant

must present some evidence that he will be deprived of counsel of choice if he cannot access the

seized assets.” Id. at 149 (collecting cases); see also, e.g., E-Gold, 521 F.3d at 417, 421 (defendant

has right to hearing where “need is clearly established,” and where “access to assets is necessary

for an effective exercise of the Sixth Amendment right to counsel”); United States v. Jones, 160

F.3d 641, 647 (10th Cir. 1998) (defendant “bears the burden of persuasion” of “demonstrat[ing] to

the court’s satisfaction that she has no assets, other than those restrained, with which to retain

private counsel and provide for herself and her family”). The defendant’s right to a pretrial hearing

is legally contingent on satisfying this threshold burden: “If a defendant fails to persuade the court

on this point, then the private interest of the Mathews calculus drops out of the picture, tipping the

balance of interests against a post-restraint hearing.” Jones, 160 F.3d at 647 (referring to Due

Process balancing test in Mathews v. Eldridge, 424 U.S. 319 (1976)).

        Thus, a Monsanto proceeding involves two steps: first, the defendant bears the burden of

establishing financial need; and second, the defendant can litigate whether there is probable cause

to support the requisite connection between the property and the crime. 3 At a Monsanto hearing:




        3
          The government assumes that it bears the burden of establishing probable cause as to the connection
between the property and the crime, but courts are not in agreement. Compare United States v. Bonventre, 720 F.3d
126, 131 (2d Cir. 2013) (government bears “relatively modest burden”); with Jones, 274 F.3d at 805 (defendant has
“opportunity . . . to prove by a preponderance of the evidence that the government seized untainted assets without
probable cause”). In E-Gold, the D.C. Circuit did not directly address the question, but suggested that the defendant
would bear the burden of making a “successful showing” at a hearing. 521 F.3d at 418.

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•   The legal standard is probable cause.        Monsanto, 491 U.S. at 615-16.        As Kaley

    emphasized, probable cause requires only a “fair probability.” 571 U.S. at 338. It is “not

    a high bar,” and serves “only a gateway function.” Id. at 338-39. “That is why a grand

    jury’s finding of probable cause to think that a person committed a crime can be made

    reliably without an adversary hearing; it is and has always been thought sufficient to hear

    only the prosecutor’s side.” Id. at 338 (internal quotations and alterations omitted).

    “Circumstantial evidence and inferences therefrom are good grounds for a finding of

    probable cause in a forfeiture proceeding.” United States v. Brock, 747 F.2d 761, 763 (D.C.

    Cir. 1984) (per curiam).

•   The Federal Rules of Evidence do not apply, and hearsay may be relied on to establish

    probable cause. See United States v. Walsh, 712 F.3d 119, 124-25 (2d Cir. 2013);

    Monsanto II, 924 F.32d at 1198.

•   Courts accept submission of an affidavit to establish probable cause prior to the Monsanto

    hearing. See United States v. Dupree, 2011 WL 3235637, at *3, 6 n.2 (E.D.N.Y. July 27,

    2011) (permitting government to satisfy its burden at a Monsanto hearing by submitting a

    pre-hearing affidavit); United States v. Clarkson Auto Electric, Inc., 2012 WL 345911, at

    *1, 3 (W.D.N.Y. Feb. 1, 2012) (same), aff’d, United States v. LaVilla, 553 F. App’x 45 (2d

    Cir. 2014); United States v. Contents of Accounts, 2010 WL 2556849, at *11 (W.D. Ky.

    June 8, 2010) (submission of agent’s affidavit met the government’s initial burden at the

    Monsanto hearing); cf. United States v. $40,000, 763 F. Supp. 1423, 1428 (S.D. Ohio 1991)

    (information provided in affidavit, which was hearsay, supported finding of probable

    cause for forfeiture). Courts typically require that the affiant be made available for cross-

    examination. See Dupree, 2011 WL 3235637, *7 (cross-examination provided the


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        defendant with the opportunity to challenge government’s establishment of probable cause

        via affidavit); Clarkson Auto, 2012 WL 345911, *2, 4 (defendant was given opportunity to

        cross-examine the government’s affiant). In cases where the government’s affidavit made

        a clear showing, courts have found probable cause existed prior to the Monsanto hearing.

        See Dupree, 2011 WL 3235637, *6 (affidavit established probable cause as to the

        forfeitability of the funds); Contents of Accounts, 2010 WL 2556849, *11 (submission of

        agent’s affidavit met the government’s initial burden at the Monsanto hearing to establish

        probable cause). In these cases the Monsanto hearing was limited to cross-examination of

        the affiant or the presentation of evidence by the defendant. See Dupree, 2011 WL

        3235637, *6-7 (given that court found affidavit established probable cause, Monsanto

        hearing was limited to cross-examination and presentation of evidence or testimony by

        defendant); Contents of Accounts, 2010 WL 2556849, *11 (defendant was required to call

        and question witnesses, or offer other relevant testimony or evidence to attack the facts

        supporting the initial finding of probable cause).

                                          ARGUMENT

   I.      The Defendant Has Not Carried His Burden of Establishing Financial Need

        First, the defendant has not carried his burden of establishing financial need to retain his

counsel of choice. See Jones, 160 F.3d at 647. The declaration submitted in support of his motion

(by the defendant’s wife, not the defendant himself) claims the defendant “has no other income or

assets from which to pay for Perkins Coie to represent him.” ECF No. 32-1 (M. Harmon Decl.).

But evidence indicates that the defendant does have access to other assets—namely, the

approximately 712.6 BTC that he secretly transferred from HELIX-derived bitcoin wallets in April




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2020, and has not provided to the government in response to the Court’s April 27, 2020 Restraining

Order, as modified on April 29, 2020, see ECF Nos. 26, 28.

       As summarized in the government’s Motion for Emergency Status Hearing on the

Defendant’s Conditions of Release and Restraining Order To Preserve Cryptocurrency Assets for

Forfeiture, ECF No. 23; Special Agent Matthew Price’s declaration in support of that motion, ECF

No. 23-1; and additional evidence summarized below, the government believes the defendant

himself secretly transferred approximately 712.6 BTC after being released on bond. Those funds

have not been recovered.

   •   During the course of this investigation, IRS-CI identified 16 Bitcoin wallets containing

       approximately 4,877 BTC, which it traced to HELIX prior to the defendant’s arrest on

       February 6, 2020, based on subpoena returns, email search warrants, and searches of

       Harmon’s properties in Ohio, California, and Belize. ECF No. 23-1, at 1-2.

   •   Pursuant to search warrants and an MLAT request executed on the date of the defendant’s

       arrest, February 6, 2020, IRS-CI seized, inter alia, three Trezor cryptocurrency storage

       devices. Id. at 3. The Trezor devices had security features enabled, including layers of

       encryption, “hidden wallets” stored within the device, and the “passphrase” feature, which

       allows a user to create unlimited hidden wallets within each Trezor device, each protected

       by its own passphrase in addition to seed recovery keys. Id.; see also ECF No. 16, at 23

       (discussing defendant’s blog postings on secret wallets and recovery seeds).

   •   On February 11, 2020, during the defendant’s initial detention hearing in the Northern

       District of Ohio, defense counsel confirmed that the defendant had the ability to “unlock”

       the seized Trezor devices. ECF No. 16-1 (2/11/20 Det. Hr’g Tr.), at 86 (“We have, just for

       the Court’s edification, we have offered to the government to unlock those devices.”).


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•   On March 13, 2020, the defendant was released on bond. Among the conditions of release

    imposed by the Court were restrictions on using Internet-connected devices or conducting

    any cryptocurrency transactions. ECF No. 20, at 2.

•   On March 20, 2020 and March 26, 2020, shortly after he was released on bond, the

    defendant logged onto his Dropbox cloud storage account from Internet Protocol (IP)

    address 65.31.4.127. This IP address corresponds to a “linked computer” the defendant

    associated with his Dropbox account on February 3, 2020, shortly before he was arrested

    on February 6, 2020. See Ex. A (Dropbox, Inc. subscriber records for Larry Harmon), at

    2-3. Among other things, Dropbox cloud storage can be used to store passwords, recovery

    seeds, and other credentials.

•   Beginning on or about April 19, 2020 and continuing through April 24, 2020, IRS-CI

    observed transactions liquidating 8 of the 16 HELIX-derived bitcoin wallets described

    above, totaling approximately 712.6 BTC (worth approximately $4.9 million at the time).

    ECF No. 23-1, at 3. Each of the eight wallet addresses would have required its own private

    key to execute the transaction, making it impossible to believe an unrelated third party

    could have orchestrated these transactions. See ECF No. 25, at 2.

•   On April 26, 2020, the government sent an email to defense counsel alerting him to the

    transfers and asking for the defendant’s position on an emergency restraining order and a

    telephonic status hearing. The government filed its motion the following day, on April 27,

    2020. ECF No. 23.

•   On April 27, 2020, the defendant again logged into his Dropbox account, from the same IP

    address as before. See Ex. A, at 2.




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   •   On April 29, 2020, following the emergency status hearing in this case and issuance of the

       Court’s restraining order, the defendant through counsel conveyed an encrypted PDF to the

       government, containing cryptocurrency access credentials. Using the credentials provided

       by the defendant, in combination with other information obtained in the course of the

       investigation, IRS-CI was able to access three hidden wallets stored on the Trezor device

       that was seized from the defendant’s office space on the premises of 57/59 Market Street,

       2nd Floor, Akron, Ohio.          The government successfully seized approximately

       4,168.9815353 BTC from these hidden wallets. See ECF No. 38, at 1. This seized bitcoin

       was then transferred to the custody of the U.S. Marshals Service. Id.

   •   However, the defendant did not provide credentials to recover the missing 712.6 BTC that

       was secretly transferred between April 19, 2020 and April 24, 2020. ECF No. 38, at 3.

   •   IRS-CI was also able to view transaction history for the hidden wallets found on the

       defendant’s Trezor device.     The transaction history showed that the secret transfers

       between April 19, 2020 and April 24, 2020 had been made out of the same three hidden

       wallets on the Trezor device that were later accessed by IRS-CI in part by using the

       defendant’s credentials. ECF No. 38, at 3-5.

The evidence and the damning timing of these transactions confirm that the defendant himself

secretly transferred the missing 712.6 BTC, and he has refused to provide it to the government

under the terms of the Court’s Restraining Order.

       To be sure, the government’s position is that all of the defendant’s cryptocurrency assets

are subject to forfeiture as property “involved in” his money laundering conspiracy and unlicensed

money transmitting offenses, and should be secured by the U.S. Marshals Service for safekeeping

during the pendency of this case. But the defendant cannot claim (vicariously) that he “has no


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other income or assets” when he, in fact, has access to millions of dollars in cryptocurrency assets.

And the existence of undisclosed cryptocurrency assets raises questions about what other assets,

including non-cryptocurrency assets, the defendant has at his disposal but is unwilling to disclose.

          Unless the defendant addresses these questions, he cannot carry his threshold burden, and

he has no right to a probable cause hearing. 4 See, e.g., Emor, 794 F. Supp. 2d at 150 (defendant

“misunderstands the nature of the threshold requirement; there is no hearing until the defendant

has first made the requisite showing, which he has not”) (emphasis in original). The Court need

not consider his motion any further.

    II.         The Seized Bitcoin Is Property “Involved In” Harmon’s Operation of an
                Unlicensed Money Transmitting Business

          The defendant has declined to challenge the forfeitability of the Seized Bitcoin under Count

Two of the Indictment. See ECF No. 32, at 7 n.7 (defendant “makes no arguments related to the

traceability of assets to that offense in the present motion”). 5 The defendant apparently concedes

that, if the Court denies the defendant’s motion to dismiss Count Two, see ECF No. 31, then the

Seized Bitcoin is subject to forfeiture pursuant to the broad forfeiture authority associated with

that count—specifically, forfeiture of “any” property “involved in” a violation of 18 U.S.C.

§ 1960. See ECF No. 1, at 7; 18 U.S.C. § 982(a)(1).

          Courts have repeatedly affirmed the broad forfeiture authority under § 982(a)(1).

Operation of an unlicensed money transmitting business in violation of § 1960 is considered a


          4
            The defendant has a Fifth Amendment right not to put himself on the record under penalty of perjury, but
the Supreme Court has held that, “while the assertion of the Fifth Amendment privilege against compulsory self-
incrimination may be a valid ground upon which a witness . . . declines to answer questions, it has never been thought
to be in itself a substitute for evidence that would assist in meeting a burden of production.” United States v. Rylander,
460 U.S. 752, 758 (1983).
          5
           At the May 29, 2020 status hearing, defense counsel orally reiterated that the defendant was not challenging
forfeiture under Count Two. The defendant cannot belatedly raise a new challenge in his reply brief. See N.Y.
Rehabilitation Care Mgmt., LLC v. NLRB, 506 F.3d 1070, 1076 (D.C. Cir. 2007) (arguments raised for the first time
on reply are waived “in order to prevent the ‘sandbagging’ of another party”).

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“continuing offense.” United States v. Elfgeeh, 2004 WL 3767299, at *9 (E.D.N.Y. Apr. 13,

2004). Because the offense encompasses the entire operation of the illegal business, forfeiture of

any property “involved in” the offense is similarly broad—including any property involved in the

business as a whole, regardless of its purpose or whether it was involved in specific transactions.

See, e.g., United States v. Elfgeeh, 515 F.3d 100, 122, 138-39 (2d Cir. 2008) (“all assets that passed

through” account belonging to unlicensed hawala were subject to forfeiture); United States v. 50.44

Bitcoins, 2016 WL 3049166, at *2 (D. Md. May 31, 2016) (bitcoins seized from married couple

that operated unlicensed Darknet virtual currency exchange were subject to forfeiture “[b]ecause

the business operated by [the defendants] . . . was not registered to transmit money as required by

state and federal law”); United States v. $829,442.42 in U.S. Currency, 2013 WL 2446486, at *8-

9 (D. Conn. June 5, 2013) (bank accounts belonging to unlicensed money transmitting business

were subject to forfeiture in their entirety); United States v. $715,031.27, 587 F. Supp. 2d 1275,

1276-78 (N.D. Ga. 2008) (“entire” bank accounts belonging to unlicensed money transmitting

business were subject to forfeiture).

          Here, the defendant openly admits (at 3-4) that he was the administrator of HELIX, and he

does not dispute that the Seized Bitcoin traces back to HELIX. Based on the sweeping terms of

§ 982(a)(1), any bitcoin the defendant accumulated through HELIX—from his 2.5% commission

fees or otherwise—would be property “involved in” operation of the illegal business and subject

to forfeiture. This Court should therefore deny the instant motion based on Count Two alone.

   III.      The Seized Bitcoin Is Property “Involved In” Harmon’s Money Laundering
             Conspiracy

          Even if Count Two were dismissed, the Seized Bitcoin is still subject to forfeiture under

Count One. That count charges the defendant with engaging in a money laundering conspiracy

from at least 2014 through 2017 to promote and to launder the proceeds of drug trafficking


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offenses, in violation of 18 U.S.C. § 1956(h). ECF No. 1, at 4-5. All property “involved in” this

ongoing conspiracy is subject to forfeiture pursuant to 18 U.S.C. § 982(a)(1). Id. at 7.

       A. Section 982(a)(1) Requires Forfeiture of All Property “Involved In” the Entire
          Money Laundering Conspiracy

       In general, “[m]oney laundering forfeiture pursuant to § 982(a)(1) applies to a larger class

of property than proceeds forfeiture.” United States v. Coffman, 859 F. Supp. 2d 871, 875 (E.D.

Ky. 2012). Property involved in a money laundering offense includes “the money or other property

being laundered (the corpus), any commissions or fees paid to the launderer, and any property used

to facilitate the laundering offense.” United States v. Puche, 350 F.3d 1137, 1153 (11th Cir. 2003)

(internal citation omitted).

       Moreover, the defendant is charged in this case with money laundering conspiracy under

18 U.S.C. § 1956(h). Money laundering conspiracy is also a “continuing offense.” See United

States v. Robertson, 67 F. App’x 257, 269 (6th Cir. May 9, 2003) (unpublished) (rejecting

argument that § 1956(h) indictment must allege “specific, discrete financial transactions,” because

it is “continuing offense”); United States v. McGoff, 831 F.2d 1071, 1078 (D.C. Cir. 1987) (“The

classic example of a continuing offense is conspiracy.”). Thus, the scope of forfeiture under

§ 982(a)(1) for money laundering conspiracy is similar to the broad scope of forfeiture under the

same statute, § 982(a)(1), for operation of an unlicensed money transmitting business: it applies

to all property “involved in” the conspiracy, not specific transactions.

       Courts have consistently construed § 982(a)(1) in this way, applying the forfeiture statute

to all of a conspiracy’s transactions or assets, rather than parsing through individual transactions—

especially in cases where, as here, the conspiracy operated in the form of an ongoing business.

See, e.g., United States v. Baker, 227 F.3d 955, 969-70 (“Specifically, . . . all of the funds from

Baker’s prostitution business over the years—both the proceeds from credit card and ATM


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transactions and other proceeds—were illegal, and as a result Baker laundered all of them. All of

these funds were thus ‘involved in’ the money laundering conspiracy, not just the specific credit

card transactions the government proved were for prostitution services and not just the specific

monies the government proved were laundered.”); United States v. Garza-Gonzalez, 512 F. App’x

60, 67 (2d Cir. Feb. 21, 2013) (unpublished) (“Datta used his perfume business to conceal the fact

that he was laundering the proceeds of drug transactions, and the district court did not err in

viewing the business’s cash receipts during the period in question as ‘property . . . involved in’

Datta’s conspiracy to violate § 1956. Those cash receipts, including the $7 million in drug money,

totaled $29,505,265.”); United States v. Coffman, 859 F. Supp. 2d 871, 879 (E.D. Ky. 2012)

(“[T]he conspiracy to commit money laundering conviction . . . is not based on or limited to

specific transactions, but encompasses the whole of Coffman’s scheme and his attempts and plans

to conceal and disguise the nature, location, source, ownership and control of the proceeds of the

fraud.”); United States v. Swank Corp., 797 F. Supp. 497, 502 (E.D. Va. 1992) (“The ability to

forfeit a business entity which is used to facilitate the offense of money laundering is well

established.”). These courts have declined to limit forfeiture to a subset of transactions within the

conspiracy. As the Seventh Circuit explained in Baker, even funds that were not part of the

predicate specified unlawful activity can still be “involved in” the money laundering conspiracy

in a number of ways, including by being used to “bankroll” the ongoing conspiracy. See 227 F.3d

at 969 (“[T]he funds that were not from credit card and ATM transactions facilitated the conspiracy

by helping to further the prostitution business . . . In short, these funds helped ‘bankroll’ the

conspiracy.”).




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        B. The Seized Bitcoin Represents the Defendant’s Commission Fee Income from the
           HELIX Money Laundering Conspiracy

        Here, all of the Seized Bitcoin represents property “involved in” the ongoing HELIX

conspiracy from 2014 through 2017. First, all funds involved in HELIX should be considered part

of the long-running HELIX drug trafficking conspiracy. 6 HELIX was a business created for the

explicit purpose of allowing Darknet customers evade law enforcement by laundering their

bitcoins—as evidenced by HELIX’s partnership and coordination with AlphaBay, the defendant’s

extensive customer support efforts directed at Darknet drug customers, and the defendant’s own

statements (under the moniker GramsAdmin) confirming that “the Darknet is 90% drugs and

illegal items for sale” and that HELIX was designed to allow users to buy and sell drugs without

risking arrest through “bitcoin taint.” ECF No. 1, at 2-3; ECF No. 16, at 9 & ECF No. 16-3. As

discussed in further detail below, all of the largest depositors into HELIX were confirmed Darknet

markets, and additional evidence shows that a significant share of both incoming and outgoing

funds were involved in Darknet drug trafficking.

        Second, the Seized Bitcoin represents commissions paid to the defendant for his operation

of HELIX—and thus falls within the heartland of property “involved in” the money laundering

conspiracy. See Puche, 350 F.3d at 1153 (forfeiture includes “commissions or fees paid to the

launderer”). As alleged in the Indictment, HELIX laundered at least 354,468 bitcoins while

charging a 2.5% fee, which would have generated approximately 8,861 bitcoins in illegal proceeds.

See ECF No. 1, at 3. The attached Agent Declaration explains how IRS-CI investigators identified

HELIX’s use of exchange accounts at the bitcoin exchanger HitBTC to conduct bitcoin laundering

transactions, and that the defendant retained a 2.5% fee for each transaction. Agent Decl. at 2, 7.


        6
          For purposes of the defendant’s motion, the grand jury’s Indictment is “conclusive” and the defendant
cannot challenge the scope, timing, or nature of the money laundering conspiracy as alleged in Count One. See Kaley,
571 U.S. at 331.

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IRS-CI traced the transaction fees retained by the defendant to 16 bitcoin wallet addresses

identified in the April 27, 2020 Price Declaration as “Harmon Wallets” 1 through 16. Id.; see also

ECF No. 23-1. This tracing was confirmed when agents found records of 13 of the 16 previously

identified “Harmon Wallets” on the Trezor device seized from the defendant’s office, ECF No. 38,

and when the defendant turned over credentials pursuant to the Court’s Restraining Order to access

5 of the 16 “Harmon Wallets,” Agent Decl. at 7.

       It is important to note that the Seized Bitcoin represents the direct proceeds of the

defendant’s money laundering conspiracy—his 2.5% commission fee income. This is not a

situation in which the government is seeking to forfeit, for example, the corpus of property

involved in a money laundering transaction that may have been comingled with clean or

“untainted” funds. In such cases, courts appropriately question whether the comingling was part

of the laundering scheme or merely incidental. See, e.g., Bikundi, 125 F. Supp. 3d at 194-95. Here,

by contrast, the Seized Bitcoin in this case represent the “commissions or fees paid to the

launderer” and clearly fall within the scope of property subject to forfeiture under § 982(a)(1).

Puche, 350 F.3d at 1153.

       C. Forfeiture of Property “Involved In” the HELIX Money Laundering Conspiracy
          Is Not Limited by the Government’s Conservative Calculation that HELIX
          Laundered at Least $21 Million in Deposits Directly from Darknet Markets

       The defendant’s only argument is the inaccurate claim that most of the bitcoin traced to

HELIX was “not linked to Darknet Markets.” ECF No. 32, at 3; see also id. at 8-9. This argument

fails to address the broad scope of 18 U.S.C. § 982(a)(1), which requires the Court to forfeit all

property “involved in” the entire HELIX money laundering conspiracy. It also misstates the

government’s actual claims regarding certain deposits into HELIX from Darknet markets. As

explained below, HELIX laundered a far larger volume of drug proceeds than the relatively

conservative $21 million figure would suggest. HELIX, moreover, was thoroughly permeated by
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illegality as a Darknet business designed and operated for the purpose of facilitating drug money

laundering.

       The defendant focuses on the detention hearing exhibit and Special Agent Haynie’s

testimony showing that the 10 largest depositors into HELIX—accounting for at least 43,319.68

BTC in deposits, or more than $21 million at the time of the transactions—were all Darknet

markets that trafficked in drugs and other illegal items. See ECF No. 16-4, at 6 (Det. Hr’g Ex. 5).

But that is a conservative estimate and captures only a portion of the drug proceeds that were

actually laundered through HELIX.

       First, the 43,319.68 BTC figure represents only bitcoin deposited directly from Darknet

markets to bitcoin. It does not capture funds that were transferred indirectly from Darknet markets,

including funds sent through intermediary addresses (i.e., more than one “hop”) before being

laundered through HELIX. See Agent Decl. at 5. Indeed, as the attached Agent Declaration

documents, the defendant routinely instructed his customers to engage in multi-step transactions

through HELIX. See id. at 5-6.

       Second, the 43,319.68 BTC figure is limited to funds deposited into HELIX from Darknet

markets. See ECF No. 16-4, at 6 (“Top 10 Depositors . . .”); 2/11/20 Tr., at 25:19-21 (chart shows

bitcoin “traced from illegal marketplaces that were deposited into the Helix mixer”) (emphases

added). These deposits are likely from Darknet vendors. As Agent Haynie testified, vendors

selling illegal drugs on Darknet markets earn proceeds in the form of bitcoin, but face a challenge

in converting their illicit bitcoin proceeds into U.S. dollars through ordinary virtual currency

exchanges: “[I]f they went directly from AlphaBay to an exchange, a company that exchanges

bitcoin for U.S. dollars,” the exchange “would see that the money is coming from AlphaBay,” and

might close the account and/or file a suspicious activity report. 2/11/20 Tr., at 64:21-65:2. To



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avoid this risk, Darknet vendors could launder their illegal profits through HELIX “to kind of erase

AlphaBay from their history, and then they can go through the exchange and cash out.” Id. at

65:3-5. The 43,319.68 BTC traced from Darknet markets to HELIX captures only one side—the

vendor side—of the equation.

        The figure does not include additional drug money laundering accomplished on the buyer

side, primarily by individuals attempting to send bitcoin from mainstream exchanges or other

Clearnet sources to Darknet markets. As Agent Haynie testified, HELIX could be used not only

by Darknet vendors, but also by buyers. 2/11/20 Tr. at 65:6-9. Indeed, a sampling of the

defendant’s Reddit posts shows that he specifically advertised HELIX as a method for transferring

bitcoin from mainstream exchanges to Darknet markets. This was to avoid due diligence by the

exchanges which would have flagged suspicious customer expenditures made directly to Darknet

markets. See Agent Decl. at 3, 5-6. The defendant specifically marketed HELIX as a way for

Darknet drug purchasers to avoid being arrested by having their purchases traced back to them:

    •   “No one has ever been arrested just through bitcoin taint, but it is possible and do you want

        to be the first? If you get a controlled delivery and you deny ordering the package the

        bitcoin taint will be the evidence they need to prove you ordered it. It is better to be safe

        than sorry no matter which tumbler or tumbling method you use.” ECF No. 16-5.

None of these transactions—which were specifically tied to Darknet markets and intended to

promote and launder Darknet drug trafficking—are included in the 43,319.68 BTC traced from

Darknet markets to HELIX. 7


        7
            The same fallacy underlies the defendant’s reliance (at 8-9) on a 2019 Chainalysis webinar (which is, in
itself, of questionable relevance to the defendant’s operation of HELIX on the Darknet from 2014 through 2017). The
Chainalysis study referenced in the webinar captured only funds sent from Darknet markets (or other sources) to
mixers. The same study also found that more than 26% of deposits into mixers came from “other mixers”—hardly an
indication of legitimate activity. And it found that 40% of deposits into mixers came from exchanges, which is
consistent with the evidence cited above that HELIX was used by exchange customers to tumble their coins in order
to conduct Darknet drug purchases.

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       Indeed, the HELIX business model was designed to facilitate Darknet drug trafficking.

HELIX operated in the shadows on the Darknet. HELIX was a companion service to GRAMS,

the defendant’s Darknet search engine project. ECF No. 1, at 2. The defendant characterized the

Darknet as “90% drugs and illegal items for sale,” and explained that he created GRAMS for the

purpose of making “blackmarket sites” more accessible to buyers. See ECF No. 16-3 (“I created

grams because 90% of the darknet was behind blackmarket sites which required a login to view.

This made it unsearchable by normal search engines. . . . I wanted to make it easier for users to use

the darknet.”). HELIX partnered with the Darknet market AlphaBay, which directed its users to

an embedded link to the Tor website for HELIX. ECF No. 1, at 3. The defendant communicated

with administrators of other Darknet markets, including Cloud 9 market and Evolution market,

about plans to integrate HELIX into the withdrawal systems for those Darknet markets as well.

See Agent Decl. at 4. In sum, HELIX was created, advertised, and used as a tool to facilitate

Darknet drug trafficking.

       Finally, it is worth emphasizing that 43,319.68 BTC—more than $21 million at

contemporary prices—is by itself a monumental volume of drug laundering transactions. Almost

any business that laundered more than $21 million in drug proceeds over the course of three years

would be considered a major money laundering organization. And, as the evidence above shows,

HELIX actually engaged in Darknet drug money laundering on a far larger scale than the

government’s conservative calculation might suggest. It is appropriate under the broad forfeiture

authority of § 982(a)(1) to seize and forfeit all of the defendant’s illicit bitcoin proceeds from this

massive money laundering conspiracy.




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                                      CONCLUSION

       For the foregoing reasons, the Court should deny the Defendant’s Motion for Release of

Funds Needed To Secure Counsel or Alternative Motion for a Hearing.


                                          Respectfully submitted,

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